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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                    BEAUMONT DIVISION


BEULAH GAINES                                  §
 Plaintiff,                                    §
                                               §
v.                                             §        CIVIL ACTION NO.
                                               §
UNITED STATES OF AMERICA                       §
 Defendant.                                    §

                          PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff, Beulah Gaines, individually, hereby complains of the United States of America,

and would respectfully show the Court the following:

                                                   I.

             PARTIES, JURISDICTION, SERVICE OF PROCESS AND VENUE

       1.1     This is a case arising out of bodily injuries caused by a United States Postal Service

               truck.

       1.2     Plaintiff Beulah Gaines is an individual that is a citizen of the state of Texas, and is

               a resident of Beaumont, Texas.

       1.3     Defendant, is the United States of America.

       1.4     This Federal District Court has jurisdiction of this cause, because this action is

               brought to and in compliance with 28 U.S.C. §§1346(b), 2671-2680 et seq.,

               commonly known as the “Federal Tort Claims Act,” and 39 U.S.C. §409(c) which




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        vests exclusive subject matter jurisdiction of Federal Tort Claims litigation in the

        Federal District Court.

  1.5   Defendant, United States of America, may be served by serving the United States

        of America through delivering a copy of the summons and of the complaint to the

        United States Attorney for the Eastern District of Texas, Joseph D. Brown, at 350

        Magnolia Avenue, Ste. 150, Beaumont, Texas 77701, and by sending a copy of the

        summons and of the complaint by certified mail to William Barr, Attorney General

        of the United States, at 10th and Constitution Avenue, N. W., Washington, D.C.

        20530.

  1.6   Venue is proper in this district pursuant to 28 U.S.C. §1391(e) and 28 U.S.C.

        §1402(b), as the United States is a Defendant and Plaintiff resides in this district

        and has her domicile in this district. Further, venue is proper in this district pursuant

        to 28 U.S.C. §1391(e) and §1402(b) as the United States is a Defendant and a

        substantial part of the events or omissions giving rise to the claim occurred in this

        district.

                                                   II.

                    LIABILITY OF THE UNITED STATES OF AMERICA

  2.1   This case is commenced and prosecuted against the United States of America

        pursuant to and in compliance with Title 28 U.S.C. §§2671-2680, commonly

        referred to as the “Federal Tort Claims Act,” and 39 U.S.C. §101 et seq., commonly

        referred to as the “Postal Reorganization Act.” Liability of the United States is



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        predicated specifically on Title 28 U.S.C. §§1346(b)(1) and 2647 and 39 U.S.C.

        §409 because the personal injuries and resulting damages of which complaint is

        made, were proximately caused by the negligence, wrongful acts and/or omissions

        of employees of the United States of America while working for the United States

        Postal Service, in Beaumont, Texas while acting within the course and scope of his

        employment, under circumstances where the United States of America, if a private

        person, would be liable to the Plaintiff in the same manner and to the same extent

        as a private individual.

                                             III.

                        JURISDICTIONAL PREREQUISITES

 3.1    Plaintiff pleads pursuant to Title 28 U.S.C. §§2672 and 2675(a), that the claims set

        forth herein were filed with and presented administratively to the Defendant’s

        agency the United States Postal Service on November 13, 2018. Greater than five

        (5) months has passed since these claims have been presented, and the United States

        Postal Service has failed to resolve the claims. Accordingly, all claims are deemed

        denied and Plaintiff has complied with all jurisdictional prerequisites and

        conditions precedent to commencement and prosecution of this litigation.

                                             IV.

           THE UNITED STATES POSTAL SERVICE IS AN AGENCY
                  OF THE UNITED STATES OF AMERICA

 4.1    The United States Postal Service is an agency of the United States of America. The

        United States Postal Service is an “independent establishment of the executive


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        branch of the Government of the United States.” 39 U.S.C. §201. The United States

        of America, Defendant herein, at all times material hereto, owned, operated and

        controlled the United States Postal Offices in Beaumont, Texas and staffed said

        facilities with vehicles with its agents, servants, and/or employees.

                                              V.

                   EMPLOYMENT AND COURSE AND SCOPE

 5.1    At all times material hereto, all persons involved in supervising and operating the

        United States Postal Service vehicle in question were agents, servants, and/or

        employees of the United States of America, or some other agency thereof, and were

        at all times material hereto, acting within the course and scope of such employment.

                                              VI.

                                         FACTS

 6.1    This is a Federal Tort Claims Action for monetary damages sustained by the

        Plaintiff resulting from personal injuries to Beulah Gaines, as a result of negligent

        operation of a United States Postal Service (USPS) vehicle.

 6.2    This claim concerns an automobile collision on or about July 31, 2017, at

        approximately 10:33 a.m., in Beaumont, Texas. Plaintiff suffered personal injuries

        when her vehicle was crashed into by a USPS Mail Van owned by Defendant, and

        negligently operated by Eric Larousse, an employee with the United States Postal

        Service, who failed to yield the right of way to Plaintiff while attempting to back

        from a private drive, in Beaumont, Texas. Eric Larousse was an employee of



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        Defendant, acting in the course and scope of his employment during the act or

        omission that caused Plaintiff’s injuries and damages.

 6.3    The USPS employee’s failure to exercise reasonable and ordinary care in operating

        a USPS vehicle on or about July 31, 2017, caused a collision between a USPS van

        and a personal vehicle owned and operated by Beulah Gaines. Plaintiff Beulah

        Gaines was lawfully operating her vehicle and otherwise exercising ordinary and

        reasonable care at the time of the collision. The USPS driver failed to yield the

        right of way while backing from a private drive, causing the collision.

 6.4    As a direct and proximate result of Defendant’s negligence, Plaintiff Beulah Gaines

        has suffered severe pain and injury to her neck, back, left hand, left knee, shoulders,

        and chest, with multiple disc herniations and protrusions, and soreness to the body

        in general.

                                              VII.

       CAUSE OF ACTION AGAINST THE UNITED STATES OF AMERICA

 7.1    Defendant, the United States of America, was negligent in one or more of the

        following respects:

        (a)    In failing to maintain control of his vehicle as persons of
               ordinary prudence would have kept under the same or
               similar circumstances.


        (b)    In failing to keep such lookout as persons of ordinary
               prudence would have kept under same or similar
               circumstances.

        (c)    In failing to proceed through an intersection when the intersection


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               can be safely entered without interference or collision with traffic
               using a different street or highway, in violation of Section 545.151,
               Texas Transportation Code, such violation constituting negligence
               per se.

        (d)    In failing to yield the right of way to an approaching vehicle
               when entering the roadway from an alley, driveway or building,
               in violation of Section 545.256, Texas Transportation Code,
               such violation constituting negligence per se.

7.2     At all times mentioned herein, the employees, agents, and/or representatives of the

        United States Government were negligent and causative of the injuries and damages

        sustained by Plaintiff.

                                              VIII.

                                          DAMAGES

8.1     As a direct and proximate result of the negligence and carelessness of the Defendant,

        Plaintiff, Beulah Gaines has suffered severe pain and injury to her neck, back, left hand,

        left knee, shoulders, and chest, with multiple disc herniations and protrusions and

        soreness to the body in general. That because of such injuries she has suffered the

        following:

        A.     Reasonable and necessary medical expense – past

        B.     Reasonable and necessary medical expense – future

        C.     Loss of earnings and earning capacity – past

        D.     Loss of earning capacity – future

        E.     Physical impairment – past

        F.     Physical impairment - future

               G.      Physical pain – past

               H.      Physical pain – future
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        I.     Mental anguish – past

        J.     Mental anguish – future

        K.     Property damage

  8.2   As a proximate result of the Defendant’s negligent acts or omissions, Plaintiff

        Beulah Gaines suffered injuries which would not otherwise have occurred.

        Plaintiff Beulah Gaines hereby pleads for all damages available under Texas

        state law, federal law, and equity including but not limited to, all damages as

        listed above.    Specifically, Plaintiff Beulah Gaines seeks recovery from

        damages in the amount of $287,000.00.

                                           IX.

                                        PRAYER

  9.1   Plaintiff requests that Defendant be cited in terms of law to appear and answer

        herein; that Plaintiff has judgment against Defendant, for the amount of actual

        damages, and all other damages under applicable federal and state law to which

        they are entitled; for post judgment interest at the applicable legal rate; for all

        recoverable Court costs incurred in this litigation; and for such other and further

        relief, to which Plaintiff may show herself entitled.




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                                      Respectfully submitted,



                                       /s/JONATHAN C. JUHAN
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